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Karen G. Felter                                     August 29,2018                                         Wth Offices in
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VIA ECF

Hon. Frederick J. Scullin
United States District Judge
Federal Building and U.S. Courthouse
100 South Clinton Street
P. O. Box 7255
Syracuse, NY 13261 -7345

              Re:        Doe v. Syracuse University, et al
                         Civil Action No.: 5:18-CV-00496 IFJS-DEP]

Dear Judge Scullin:

        Plaintiffs are preparing additional papers in opposition to the motion for temporary and
preliminary injunctive relief filed by Defendants (Dkt. # 48) which are due by tomorrow in accordance
with the briefing schedule entered by Judge Peebles. (Dkt. #54). However, I write to refute some glaring
misstatements in the letter brief filed by defense counsel today in further support of defendants' letter
request that the Court sign their requested TRO prior to September 5, 2018. (Dkt. #57).

                                                   INTRODUCTION

         Plaintiffs have not engaged in improper "forum shopping." Rather, petitioners commenced the
Article 78 proceeding in a court with unquestioned jurisdiction to hear it to avoid a lengthy jurisdictional
dispute in the short weeks between filing of the action and the start of classes.l Moreover, it was
procedurølly ímpossíble for the non-diverse petitioners to obtain Article 78 relief from this Courl. The
existence of the pending Federal Action did not requíre petitioners to file the Article 78 claims here and
this Court has no authority to force the petitioners to re-file the Article 78 claims in federal court. Nor
can this Court preclude plaintifß in this case who are also petitioners in the state case from pursuing any
and all available remedies in the Article 78 proceeding. Finally, defendants cannot corral plaintiffs into
litigating their Article 78 claims in this Court because they prefer to defend their unlawful actions here.




I If plaintiffs had amended the Federal Action to include Aticle 78 claims and a request for a stay of the disciplinary action,
including suspensions, so they could return to campus, defendants would have opposed that request for relief or moved to
dismiss the amended complaint on the basis thøt this Court lacks ,iurisdiction fo award such relief or should not do so.

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                                                          DISCUSSION

            "Article 78 is not in and of itself a cause of action, but a procedure best suited for state courts."
    DeJesus v. City of New York,2}l2WL569176, at* 4 (S.D.N.Y. Feb. 21, 2012). Indeed, a Judge in this
    District opined that there was "nearly unanimous" agreement that New York's district courts lack subject
    matter jurisdiction over Article 78 proceedings, Kent v. New York,20l2WL 6024998 (N.D.N.Y. Dec. 4,
    2012). And even though it has not decided whetherArticle 78 depríves district coutls ofjurisdiction, the
    Second Circuit has stated courts should declíne to exercise jurisdiction over Article 78 proceedings even
    if they have theoretical authority to hear these claims. See Carver v. Nassau Cty. Interim Fin. Auth.,730
    F.3d 150, 155 (2dCir.2013) (citing Davidsonv. Capuano,792F.2d275,280 (2dCir.1986) ("Article 78
    reflects a state preference for a state mode of procedure that 'is designed to facilitate a summary
    disposition of the issues presented ... and has been described as a fast and cheap way to implement a right
    that is as plenary as an action, culminating in a judgment, but is brought on with the ease, speed and
    inexpensiveness of a mere motion.' ").

           Plaintiffs filed this action for breach of contract and defamation initially to obtain injunctive relief
                                                                 ooquasi-suspension"
    because they had been improperly placed in a temporary                            status just weeks before the
    end of the semesteE which precluded them from attending classes, review classes, exams and meetings
                                                                'Whether
    with professors on campus. (Dkt. # 1, pp. 2-3,27).                   the breach of contract and defamation
    claims were brought in federal or state court, a demand for injunctive relief was a pre-requisíte for a
    TRO or preliminary injunction. Thus, the claim for injunctive relief was required to obtain the
    emergency intervention initially sought by plaintifß.

             At the time this action was commenced, the University had not issued final disciplinary
    determinations. Thus, no Afiicle 78 claims could have been raised. While plaintifß' claims for breach
    of contract and defamation could have been brought in state court, plaintiffs chose a federal forum. We
    initially believed this Court might have supplemental jurisdiction over future Article 78 claims based on
    thefederal due process claim that was originally pled. When the complaint was subsequently amended,
    we determined that the federal due process claim was subject to dismissal as duplicative of the claims
    that would be available to plaintiffs via Article 78. Consequently, the federal claim was dropped. (Dkt.
    #'s 14-72,26).

            Plaintiffs sought leave to amend their complaint in June 2018, to include a claim that defendants
    breached their own policies and procedures by holding the students' transcripts and prematurely rnarking
    them before conclusion of the appeal process which was interfering with their right to transfer. (Dkt. #
     14; 14-12, pp. 4,31). Again, a request for injunctive relief in the action was required to be included in
    the pleading to obtain a TRO and preliminary injunction.2 Plaintifß asked this Court to force the

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      Th" S""ond Amended Complaint retained the request that plaintiffs be restored to their previons status of good academic
    standing. It also requested an injunction: 1) Lifting any holds placed on Plaintiffs' transcripts as a result of the disciplinary
    process; 2) Allowing Plaintiffs to obtain official transcripts without any disciplinary notations; and 3) Prohibiting Defendants




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    University to release unmarked transcripts pending affìrmance of disciplinary determinations by the
    Appeals Board. (Dkt. # 14). The Court's denial of the TRO and preliminary injunction was not a
    determination of the Federal Action on its merits. Not only did this Court decline to reach a determination
    on the merits of the limited issue whether defendants breached any contractual provision by prematurely
    marking transcripts, the Court dìd not even consíder the substance of plaintiffs'remaining contract or
    defamation claims. (Dkt. #24).

            Contrary to defense counsel's misstatements, the commencement of the Article 78 proceeding in
    Jefferson County Supreme Court more thøn 6 weeks after this Court denied the injunction on the
    transcript issue had nothing to do with this Court's ruling. Instead, petitioners properly filed the Article
    78 proceeding after a nearly seven week delay by the University in issuing appeal decisions. It is
    blatantly untrue for defense counsel to contend plaintiffs have "never denfied]" this Court's lack of
    jurisdiction over their Article 78 claims. We have repeatedly stated this Court had and has no jurisdiction
    to review the pending Article 78 claims. And it is hardly "irrelevant" that this Court would also lack
    subject matter jurisdiction over the state claims of three non-diverse petitioners in the Jefferson County
    case.


            To avoid: 1) filing two Article 78 actions; and 2) prompting a jurisdictional dispute over the
    Court's authority to issue a stay, which would only høve delayed the ability of plaintiffs/petitioners to
    return to school for the Fall 2018 semester, petitioners filed the Article 78 case in state court øs was theír
    ríeht. And we chose Jefferson County because it was the furthest permissible geographical venue from
    the situs of continued media hysteria over this case. It is beyond speculative for defense counsel to aver
    that we "now believe we have a greater chance of success in state court." There has been no adverse
    determínatíon made by this Court on the merits of the Second Amended Complaint. Moreover, this
    Court's "judgments" are not in danger of being ovemrled by Judge McClusky because this Court has
    issued no judgments. The Court's decision on the injunction motion is not a determination that plaintiffs
    can't recover compensatory and punitive damages from defendants for their breach of contract or
    defamatory comments.

            Moreover, Judge McClusky's determination that petitioners are entitled to a prohibitory
    injunction - a stay of disciplinary action pending review of their Article 78 claims - is not a reversal or
    challenge to this Court's earlier refusal to order mandatory injunctive relief while the University
    completed the administrative appeals process. First of all, the request for a temporary injunction to
    reÍtove premature notations from plaintiffs' transcripts and force the University to release them
    unmarked was intended to cover the interim between issuance of disciplinary decisions and final appeals.
    Secondly, removal of premature disciplinary notations from transcripts is entirely dìstínct from the


    from otherwise impeding Plaintifß' rights to transfer to other institutions. Indeed, if this Cout ultimately concludes that
    disciplining plaintiffs forbaseless Code of Conduct violations constitutes breach of contract, plaintiffs would requestremovøl
    of the notution of disciplinary action from their transcripts.




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    demand in the Article 78 proceeding to reverse ønd expunge Lhe actual disciplinary determinations
    themselves.

                                                       CONCLUSION

             Plaintiffs have never suggested that Judge McClusky's request that the parties consolidate the two
    actions in Jefferson County or this Court was bíndíng on the Northern District of New York. But it
    should be considered and respected by the parties and attomeys appearing before Judge McClusky.
    Indeed, the Judge's directive was prompted by arguments from defense counsel that the two cases should
    not be litigated in two different forums. In response to the offer made by us to implement Judge
    McClusky's request, defense counsel acted to prevent the two actions from being transferred/joined by
    filing an ans\¡r'er to the Second Amended Complaint. At this point, plaintiffs cannot voluntarily withdraw
    their breach of contract and defamation claims without prejudice and the Article 78 case cannot be heard
    here. Thus, if any party is "for-um shopping," it is defendants, who are throwing up road blocks to force
    plaintifß to litigate theirArticle 78 claims in federal court. There is simply no legal authority to require
    plaintiffs to do so.

           Consequently, plaintiffs request that the Court decline to sign defendants'requested TRO in
    advance of the hearing on September 5, 2018.

                                                       Respectfully,




                                                       Karen G. Felter


    Cc:                All Counsel of Record via ECF




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